Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 1 of 52 PageID #:134


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                                                              THOMA.SDGIS T R IC T COURT
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Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 2 of 52 PageID #:135
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Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 5 of 52 PageID #:138
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Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 18 of 52 PageID #:151
Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 19 of 52 PageID #:152
Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 20 of 52 PageID #:153
Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 21 of 52 PageID #:154
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Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 25 of 52 PageID #:158
Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 26 of 52 PageID #:159
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Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 31 of 52 PageID #:164
Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 32 of 52 PageID #:165
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Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 39 of 52 PageID #:172
Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 40 of 52 PageID #:173
              Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 41 of 52 PageID #:174

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     NorthernDistrict
                                                 __________   Districtofof__________
                                                                           Illinois

  :Sebastian-Dior: Hartsfield.; :Carmen-Michelle:                   )
Hartsfield., Exectutors for the Estate of Ezra Jerome               )
                and Marjorie Hartsfield                             )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No.
                                                                    )
  Margaret Jean Cocozza d/b/a MARGARET JEAN                         )
                COCOZZA JUDGE
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Margaret Jean Cocozza d/b/a MARGARET JEAN COCOZZA JUDGE
                                       Daley Center
                                       50 W. Washington, Rm. 2806
                                       Chicago, Illinois 60602




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       :Sebastian-Dior: Hartsfield.; :Carmen-Michelle: Hartsfield., Executors for the Estate of
                                       Ezra Jerome and Marjorie Hartsfield in c/o 23100 Eastbrook Drive, Sauk Village,
                                       Illinois [60411]



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
               Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 42 of 52 PageID #:175

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
       USM-285 is a 5-part form. Fill out the form and print 5 copies. Sign as needed and route as specified below.
                   Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 43 of 52 PageID #:176
  U.S. Department of Justice                                                              PROCESS RECEIPT AND RETURN
  United States Marshals Service                                                          See "Instructions for Service of Process by U.S. Marshal"

   PLAINTIFF                                                                                                            COURT CASE NUMBER
   :Sebastian-D.: Hartsfield; :Carmen-Michelle: Hartsfield, Executors for the Estate of Ezra Jerome
                                                                                               1:21-cv-04360
                                                                                                    and Marjorie Hartsfield
   DEFENDANT                                                                                                            TYPE OF PROCESS
   Margaret Jean Cocozza d/b/a MARGARET JEAN COCOZZA, JUDGE
                        NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

       SERVE
          AT     {     Margaret Jean Cocozza d/b/a MARGARET JEAN COCOZZA, JUDGE
                        ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

                       Daley Center, 50 W. Washington, Rm. 2806, Chicago, Illinois 60602
   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                               Number of process to be
                                                                                                                    served with this Form 285


                  :Sebastian-Dior: Hartsfield.; :Carmen-Michelle: Hartsfield., Executors                            Number of parties to be
                                                                                                                    served in this case
                  for the Estate of Ezra Jerome and Marjorie Hartsfield in c/o 23100
                  Eastbrook Drive, Sauk Village, Illinois [60411]
                                                                                                                    Check for service
                                                                                                                    on U.S.A.

       SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
       All Telephone Numbers, and Estimated Times Available for Service):
Fold                                                                                                                                                                  Fold




   Signature of Attorney other Originator requesting service on behalf of:                  PLAINTIFF            TELEPHONE NUMBER                  DATE

                                                                                            DEFENDANT

       SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
   I acknowledge receipt for the total     Total Process   District of      District to       Signature of Authorized USMS Deputy or Clerk                 Date
   number of process indicated.                            Origin           Serve
   (Sign only for USM 285 if more
   than one USM 285 is submitted)                          No.              No.

   I hereby certify and return that I  have personally served ,       have legal evidence of service,     have executed as shown in "Remarks", the process described
   on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

          I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
   Name and title of individual served (if not shown above)                                                                    A person of suitable age and discretion
                                                                                                                               then residing in defendant's usual place
                                                                                                                               of abode
   Address (complete only different than shown above)                                                                      Date                  Time
                                                                                                                                                                          am
                                                                                                                                                                          pm

                                                                                                                           Signature of U.S. Marshal or Deputy


   Service Fee          Total Mileage Charges Forwarding Fee             Total Charges        Advance Deposits     Amount owed to U.S. Marshal* or
                        including endeavors)                                                                       (Amount of Refund*)

                                                                                                                                         $0.00
   REMARKS:




   PRINT 5 COPIES: 1. CLERK OF THE COURT                                                                                                PRIOR EDITIONS MAY BE USED
                   2. USMS RECORD
                   3. NOTICE OF SERVICE
                   4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,
                      if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                                    Form USM-285
                   5. ACKNOWLEDGMENT OF RECEIPT                                                                                                                    Rev. 12/80
              Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 44 of 52 PageID #:177

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     NorthernDistrict
                                                 __________   Districtofof__________
                                                                           Illinois

  :Sebastian-Dior: Hartsfield.; :Carmen-Michelle:                   )
Hartsfield., Exectutors for the Estate of Ezra Jerome               )
                and Marjorie Hartsfield                             )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No.
                                                                    )
Michael Lewis Nixon d/b/a MICHAEL LEWIS NIXON                       )
                     JUDGE
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael Lewis Nixon d/b/a MICHAEL LEWIS NIXON JUDGE
                                       Daley Center
                                       50 W. Washington, Rm. 2802
                                       Chicago, Illinois 60602




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       :Sebastian-Dior: Hartsfield.; :Carmen-Michelle: Hartsfield., Executors for the Estate of
                                       Ezra Jerome and Marjorie Hartsfield in c/o 23100 Eastbrook Drive, Sauk Village,
                                       Illinois [60411]



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
               Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 45 of 52 PageID #:178

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
       USM-285 is a 5-part form. Fill out the form and print 5 copies. Sign as needed and route as specified below.
                   Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 46 of 52 PageID #:179
  U.S. Department of Justice                                                              PROCESS RECEIPT AND RETURN
  United States Marshals Service                                                          See "Instructions for Service of Process by U.S. Marshal"

   PLAINTIFF                                                                                                            COURT CASE NUMBER
   :Sebastian-D.: Hartsfield; :Carmen-Michelle: Hartsfield, Executors for the Estate of Ezra Jerome
                                                                                               1:21-cv-04360
                                                                                                    and Marjorie Hartsfield
   DEFENDANT                                                                                                            TYPE OF PROCESS
   Michael Lewis Nixon d/b/a MICHAEL LEWIS NIXON, JUDGE
                        NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

       SERVE
          AT     {     Michael Lewis Nixon d/b/a MICHAEL LEWIS NIXON, JUDGE
                        ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

                       Daley Center, 50 W. Washington, Rm. 2802, Chicago, Illinois 60602
   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                               Number of process to be
                                                                                                                    served with this Form 285


                  :Sebastian-Dior: Hartsfield.; :Carmen-Michelle: Hartsfield., Executors                            Number of parties to be
                                                                                                                    served in this case
                  for the Estate of Ezra Jerome and Marjorie Hartsfield in c/o 23100
                  Eastbrook Drive, Sauk Village, Illinois [60411]
                                                                                                                    Check for service
                                                                                                                    on U.S.A.

       SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
       All Telephone Numbers, and Estimated Times Available for Service):
Fold                                                                                                                                                                  Fold




   Signature of Attorney other Originator requesting service on behalf of:                  PLAINTIFF            TELEPHONE NUMBER                  DATE

                                                                                            DEFENDANT

       SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
   I acknowledge receipt for the total     Total Process   District of      District to       Signature of Authorized USMS Deputy or Clerk                 Date
   number of process indicated.                            Origin           Serve
   (Sign only for USM 285 if more
   than one USM 285 is submitted)                          No.              No.

   I hereby certify and return that I  have personally served ,       have legal evidence of service,     have executed as shown in "Remarks", the process described
   on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

          I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
   Name and title of individual served (if not shown above)                                                                    A person of suitable age and discretion
                                                                                                                               then residing in defendant's usual place
                                                                                                                               of abode
   Address (complete only different than shown above)                                                                      Date                  Time
                                                                                                                                                                          am
                                                                                                                                                                          pm

                                                                                                                           Signature of U.S. Marshal or Deputy


   Service Fee          Total Mileage Charges Forwarding Fee             Total Charges        Advance Deposits     Amount owed to U.S. Marshal* or
                        including endeavors)                                                                       (Amount of Refund*)

                                                                                                                                         $0.00
   REMARKS:




   PRINT 5 COPIES: 1. CLERK OF THE COURT                                                                                                PRIOR EDITIONS MAY BE USED
                   2. USMS RECORD
                   3. NOTICE OF SERVICE
                   4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,
                      if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                                    Form USM-285
                   5. ACKNOWLEDGMENT OF RECEIPT                                                                                                                    Rev. 12/80
              Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 47 of 52 PageID #:180

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                       NorthernDistrict
                                                   __________   Districtofof__________
                                                                             Illinois

  :Sebastian-Dior: Hartsfield.; :Carmen-Michelle:                   )
Hartsfield., Exectutors for the Estate of Ezra Jerome               )
                and Marjorie Hartsfield                             )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No.
                                                                    )
                 THE STATE OF ILLINOIS                              )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) THE STATE OF ILLINOIS
                                           Office of the Governor
                                           James R. Thompson Center
                                           100 W. Randolph, 16-100
                                           Chicago, IL 60601



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       :Sebastian-Dior: Hartsfield.; :Carmen-Michelle: Hartsfield., Executors for the Estate of
                                       Ezra Jerome and Marjorie Hartsfield in c/o 23100 Eastbrook Drive, Sauk Village,
                                       Illinois [60411]



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
               Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 48 of 52 PageID #:181

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
       USM-285 is a 5-part form. Fill out the form and print 5 copies. Sign as needed and route as specified below.
                   Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 49 of 52 PageID #:182
  U.S. Department of Justice                                                              PROCESS RECEIPT AND RETURN
  United States Marshals Service                                                          See "Instructions for Service of Process by U.S. Marshal"

   PLAINTIFF                                                                                                            COURT CASE NUMBER
   :Sebastian-D.: Hartsfield; :Carmen-Michelle: Hartsfield, Executors for the Estate of Ezra Jerome
                                                                                               1:21-cv-04360
                                                                                                    and Marjorie Hartsfield
   DEFENDANT                                                                                                            TYPE OF PROCESS
   THE STATE OF ILLINOIS
                        NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

       SERVE
          AT     {     THE STATE OF ILLINOIS
                        ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

                       Office of the Governor, James R. Thompson Center, 100 W. Randolph, 16-100, Chicago, IL 60601
   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                               Number of process to be
                                                                                                                    served with this Form 285


                  :Sebastian-Dior: Hartsfield.; :Carmen-Michelle: Hartsfield., Executors                            Number of parties to be
                                                                                                                    served in this case
                  for the Estate of Ezra Jerome and Marjorie Hartsfield in c/o 23100
                  Eastbrook Drive, Sauk Village, Illinois [60411]
                                                                                                                    Check for service
                                                                                                                    on U.S.A.

       SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
       All Telephone Numbers, and Estimated Times Available for Service):
Fold                                                                                                                                                                  Fold




   Signature of Attorney other Originator requesting service on behalf of:                  PLAINTIFF            TELEPHONE NUMBER                  DATE

                                                                                            DEFENDANT

       SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
   I acknowledge receipt for the total     Total Process   District of      District to       Signature of Authorized USMS Deputy or Clerk                 Date
   number of process indicated.                            Origin           Serve
   (Sign only for USM 285 if more
   than one USM 285 is submitted)                          No.              No.

   I hereby certify and return that I  have personally served ,       have legal evidence of service,     have executed as shown in "Remarks", the process described
   on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

          I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
   Name and title of individual served (if not shown above)                                                                    A person of suitable age and discretion
                                                                                                                               then residing in defendant's usual place
                                                                                                                               of abode
   Address (complete only different than shown above)                                                                      Date                  Time
                                                                                                                                                                          am
                                                                                                                                                                          pm

                                                                                                                           Signature of U.S. Marshal or Deputy


   Service Fee          Total Mileage Charges Forwarding Fee             Total Charges        Advance Deposits     Amount owed to U.S. Marshal* or
                        including endeavors)                                                                       (Amount of Refund*)

                                                                                                                                         $0.00
   REMARKS:




   PRINT 5 COPIES: 1. CLERK OF THE COURT                                                                                                PRIOR EDITIONS MAY BE USED
                   2. USMS RECORD
                   3. NOTICE OF SERVICE
                   4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,
                      if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                                    Form USM-285
                   5. ACKNOWLEDGMENT OF RECEIPT                                                                                                                    Rev. 12/80
              Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 50 of 52 PageID #:183

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     NorthernDistrict
                                                 __________   Districtofof__________
                                                                           Illinois

  :Sebastian-Dior: Hartsfield.; :Carmen-Michelle:                   )
Hartsfield., Exectutors for the Estate of Ezra Jerome               )
                and Marjorie Hartsfield                             )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                         Civil Action No.
                                                                    )
     William P Butcher, Attorney d/b/a WILLIAM P                    )
                BUTCHER ATTORNEY
                                                                    )
     WILLIAM P BUTCHER ATTORNEY AT LAW
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) William P Butcher, Attorney d/b/a WILLIAM P BUTCHER ATTORNEY
                                       WILLIAM P BUTCHER ATTORNEY AT LAW
                                       2044 Ridge Rd
                                       Homewood, Illinois 60430




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       :Sebastian-Dior: Hartsfield.; :Carmen-Michelle: Hartsfield., Executors for the Estate of
                                       Ezra Jerome and Marjorie Hartsfield in c/o 23100 Eastbrook Drive, Sauk Village,
                                       Illinois [60411]



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                         Signature of Clerk or Deputy Clerk
               Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 51 of 52 PageID #:184

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
       USM-285 is a 5-part form. Fill out the form and print 5 copies. Sign as needed and route as specified below.
                   Case: 1:21-cv-04360 Document #: 9 Filed: 05/13/22 Page 52 of 52 PageID #:185
  U.S. Department of Justice                                                              PROCESS RECEIPT AND RETURN
  United States Marshals Service                                                          See "Instructions for Service of Process by U.S. Marshal"

   PLAINTIFF                                                                                                            COURT CASE NUMBER
   :Sebastian-D.: Hartsfield; :Carmen-Michelle: Hartsfield, Executors for the Estate of Ezra Jerome
                                                                                               1:21-cv-04360
                                                                                                    and Marjorie Hartsfield
   DEFENDANT                                                                                                            TYPE OF PROCESS
   William P. Butcher d/b/a WILLIAM P BUTCHER, ATTORNEY
                        NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

       SERVE
          AT     {     WILLIAM P BUTCHER AT LAW and William P. Butcher
                        ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

                       2044 Ridge RdHomewood, Illinois 60430
   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                               Number of process to be
                                                                                                                    served with this Form 285


                  :Sebastian-Dior: Hartsfield.; :Carmen-Michelle: Hartsfield., Executors                            Number of parties to be
                                                                                                                    served in this case
                  for the Estate of Ezra Jerome and Marjorie Hartsfield in c/o 23100
                  Eastbrook Drive, Sauk Village, Illinois [60411]
                                                                                                                    Check for service
                                                                                                                    on U.S.A.

       SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
       All Telephone Numbers, and Estimated Times Available for Service):
Fold                                                                                                                                                                  Fold




   Signature of Attorney other Originator requesting service on behalf of:                  PLAINTIFF            TELEPHONE NUMBER                  DATE

                                                                                            DEFENDANT

       SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
   I acknowledge receipt for the total     Total Process   District of      District to       Signature of Authorized USMS Deputy or Clerk                 Date
   number of process indicated.                            Origin           Serve
   (Sign only for USM 285 if more
   than one USM 285 is submitted)                          No.              No.

   I hereby certify and return that I  have personally served ,       have legal evidence of service,     have executed as shown in "Remarks", the process described
   on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

          I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
   Name and title of individual served (if not shown above)                                                                    A person of suitable age and discretion
                                                                                                                               then residing in defendant's usual place
                                                                                                                               of abode
   Address (complete only different than shown above)                                                                      Date                  Time
                                                                                                                                                                          am
                                                                                                                                                                          pm

                                                                                                                           Signature of U.S. Marshal or Deputy


   Service Fee          Total Mileage Charges Forwarding Fee             Total Charges        Advance Deposits     Amount owed to U.S. Marshal* or
                        including endeavors)                                                                       (Amount of Refund*)

                                                                                                                                         $0.00
   REMARKS:




   PRINT 5 COPIES: 1. CLERK OF THE COURT                                                                                                PRIOR EDITIONS MAY BE USED
                   2. USMS RECORD
                   3. NOTICE OF SERVICE
                   4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,
                      if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                                    Form USM-285
                   5. ACKNOWLEDGMENT OF RECEIPT                                                                                                                    Rev. 12/80
